
PER CURIAM:
These claims were submitted for decision upon the pleadings. *262The claimants seek payment for various goods and services furnished to the respondent as follows:
Claim No. Claim Against Anthony Center Amount
CC-82-150 Bowlings, Inc. $ 407.74
Claims Against West Virginia
Claim No. Prison for Women Amount
CC-82-226 Butler’s Pharmacy $2,466.18
CC-82-222 FMRS Mental Health Council, Inc. $ 96.00
CC-82-218 William D. McLean, M.D. $ 64.00
CC-82-217 D. L. Rasmussen, M.D. $ 665.00
The respondent admits the validity and' amounts of these claims, but further alleges that sufficient funds were not available at the close of the fiscal years in question from which the obligations could have been paid.
The Court finds that these claims should, in equity and good conscience, be paid, but awards cannot be made, based on the decision in Airkem Sales and Service, et al. v. Department of Mental Health, 8 Ct.Cl. 180 (1971).
Claims disallowed.
